           Case 1:15-vv-00318-UNJ Document 49 Filed 09/23/16 Page 1 of 7




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-318V
                                      Filed: May 25, 2016
                                        UNPUBLISHED

****************************
JAYMEENI PATEL,                        *
                                       *
                    Petitioner,        *       Joint Stipulation on Damages;
v.                                     *       Hepatitis A/Hepatitis B Vaccine;
                                       *       Shoulder Injury Related to
SECRETARY OF HEALTH                    *       Vaccine Administration (“SIRVA”);
AND HUMAN SERVICES,                    *       Special Processing Unit (“SPU”)
                                       *
                    Respondent.        *
                                       *
****************************
Elizabeth Martin Muldowney, Rawls, McNelis and Mitchell, PC, Richmond, VA, for
petitioner.
Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On March 27, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as result of her Hepatitis A/Hepatitis B vaccine administered
on April 11, 2012. Stipulation, filed May 25, 2016, at ¶ 4; see also Petition at 1.
Petitioner further alleges that she suffered the residual effects of this injury for more
than six months, and that she has received no prior settlement or award as
compensation for this injury. Petition at ¶¶ 17-18; Stipulation at ¶¶ 4-5. “Respondent
denies that “either vaccine caused or significantly aggravated petitioner’s alleged
injuries or any other injury, and denies that petitioner’s current disabilities are the result
of a vaccine-related injury.” Stipulation at ¶ 6.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:15-vv-00318-UNJ Document 49 Filed 09/23/16 Page 2 of 7



        Nevertheless, on May 25, 2016, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $129,837.34 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
        Case 1:15-vv-00318-UNJ Document 49 Filed 09/23/16 Page 3 of 7




                IN THE UNITED STATES CO URT OF FEDERAL CLAIMS
                          OFFI C E OF SPEC IA L MASTE RS

                                                  )
JAYMEEN I PATEL,                                  )
                                                  )
                     Petiti oner,                 )       No. I 5-3 I 8V    ECF
                                                  )
                V.                                )       Chief Special Master Dorsey
                                                  )
SECRETARY OF HEALTH                               )
AND HUMAN SERVICES,                               )
                                                  )
                 Respondent.                      )
~~~~~~~~~~~~~~~                                   )
                                            STIPULATION

       The parties hereby stipul ate to the fo llowing matters:

        I.   Petitioner, Jaymeeni Patel, fil ed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-I 0 to 34 (the "Vacc ine

Program").    The petition seeks com pensation for injuries allegedly related to petitioner· s rece ipt

of the Hepati tis A/Hepatitis B vacc ine, which is conta ined in the Vaccine Injury Table (the

"Table"), 42 C. F.R. § I 00.3(a).

       2.    On April 11 , 201 2, petitioner received the vaccine in her lefl arm.        On April 23 ,

20 12, petitioner received a second vaccine in her left arm.

        3. The vaccines were admini stered within the United States.

       4.    Petiti oner alleges that, as a result of rece ivin g th e vaccine on Apri I I I, 20 12, she

suffered from a shoulder inj ury related to vaccine administration, and that she experienced

symptoms of this injury for more than six months.

        5.   Petitioner represents that there has been no pri or award or settlement of a civil action
        Case 1:15-vv-00318-UNJ Document 49 Filed 09/23/16 Page 4 of 7




for damages as a result of her alleged injuries.

        6.     Respondent deni es that the either vaccine caused or significantly aggravated

petitioner's alleged injuries or any other injury, and denies that petitioner's current disabilities

are the result of a vacc ine-related injury.

        7.     Maintaining their above-stated pos itions, the parties neverth eless now agree th at the

issues between them shall be settled and that a decision should be entered awardin g the

compensation described in paragraph 8 of this Stipulat ion.

        8.     As soon as practicable after an entry of judgment re fl ecting a dec is ion consistent

with the terms o f this Stipul ation , and after petitioner has filed an election to recei ve

compensation pursuant to 42 U.S.C. § 300aa-2 I (a)( I), the Secretary of Health and Human

Serv ices will issue the following vaccine compensation payment:

                  A lump sum o f $ 129,837.34, in the form ofa check paya bl e to petitioner.

Th is amount represents compensation for all damages that would be avai lable under 42 U.S.C. §

300aa- I5(a).

        9.     As soon as practicable after the entry ofjudgment on entitlement in th is case, and

after petitioner has filed both a proper and timely election to receive com pensation pursuant to

42 U.S.C. Section 300aa-2 1(a)(I), and an application, the pa11ies will submit to further

proceed ings before the special master to award reasonable attorneys' fees and costs incurred in

proceeding upon this petition.

        I 0.    Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipul ation is not for any items or services for whi ch the Program is not primaril y liabl e

under 42 U.S.C. § 300aa- I 5(g), to the ex tent that payment has been made or can reasonably be


                                                     2
        Case 1:15-vv-00318-UNJ Document 49 Filed 09/23/16 Page 5 of 7




expected to be made under any State compensation programs, insurance po licies, Federal or

State health benefits program s (other than Title XIX of th e Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11.    Payment made pursuant to paragraph 8 of th is Stipu lation, and any amounts

awarded pursuant to paragraph 9 of this Stipu lati on, will be made in accordance with 42 U.S.C.

§ 300aa- l 5(i), subject to the avai labi lity of suffic ient statutory fund s.

        12.    The parties and their attorneys furth er agree and stipulate th at, except for any award

for attorneys' fees and litigation costs, the money provided pursuant to this St ipulation will be

used so lely for the benefit of petitioner, as contemplated by a strict construction of 42 U.S.C.

§ 300aa-l 5(a) and (d), and subject to the cond itions of 42 U.S.C. §§ 300aa- l 5(g) and (h).

        13.    In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, admi nistrators, successors or assigns,

does forever irrevocably and uncond itionally release, acquit and discharge the United States and

the Secretary of Hea lth and Human Serv ices from any and all acti ons, causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, co uld have been brought, or cou ld be timely brought in

the Court of Federal Claims, under the National Vaccine Injury Compensation Program, 42

U.S .C. § 300aa- I0 et seq., on account of, or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

alleged to have resulted from, the vaccines adm inistered on Apri l 11 , 20 12, or on April 23, 20 12,

as alleged by petitioner in a petition for vaccine compensation fil ed on or about March 27, 20 15,

in the United States Court of Federal Claims as petition No. l 5-3 l 8V.

         14.   If petitioner should die prior to entry of judgment, this agreement shall be voidable

                                                       3
        Case 1:15-vv-00318-UNJ Document 49 Filed 09/23/16 Page 6 of 7




upon proper notice to the Court on behalf of either or both of the parties.

        15.   If the specia l master fa ils to issue a deci sion in com plete conformity with the terms

of this Stipulation or ifthe Court of Federal Claims fa ils to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and thi s Stipulation shall be voidable at the sole di scretion of either party.

        16.   Th is Stipu lati on expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Inj ury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is abso lutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearl y agreed to.   The parties furth er agree and understand that the award described in thi s

stipulation may re fl ect a compromise of the parti es' respective pos itions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or cond iti on or in the

items of compensati on sought, is not grounds to mod ify or rev ise thi s agreem ent.

        17. This Stipulation shall not be construed as an adm iss ion by the Un ited States or the

Secretary of Hea lth and Human Services that the vaccines received by petitioner either caused or

significantly aggravated petitioner's all eged injuries or any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                      END OF STIPULATIO N




                                                    4
     Case 1:15-vv-00318-UNJ Document 49 Filed 09/23/16 Page 7 of 7




Respectfu lly submitted,

PETITI ONER:




ATTOR NEY OF RECOR D FOR                       AUTHO RIZED REPRE SENTA TIVE
PETIT IONER :                                  OF THE ATTOR NEY GENER AL:




Rawls cNelis +Mitchel l                        Deputy Director
21 I Rockctts Way, Suite I 00                  Torts Branch
Richmond, YA 2323 l                            Civil Division
(804) 622-067 6                                U.S. D~partment of Justice
                                               P.O. Box 146
                                               Benjam in Franklin Station
                                               Washington, DC 20044-0 146

AUTHO RIZED REPRE SENTA TIVE                   ATTOR NEYO FRECO RDFO R
OF THE SECRE T.t).RY\ OF H EALTH               RESPO NDENT :
AND HUMA r~~VI<JES:


  b))~-dR, -1!~
NARAY AN NA          M.D                   ~
Acting Director, Division of Injury            Senior Trial Attorney
  Compensation Programs                        Torts Branch
Hea lthcare Systems Bureau                     Civ il Division
U.S. Departm ent of Health                     U.S . Department of Justice
  and Human Services                           P.O. Box 146
5600 Fishers Lane                              Benjam in franklin Station
Parklawn Bui ld ing, Mai l Stop 08Nl46 B       Washin gton, DC 20044-0 146
Rockv ille, MD 20857                           Tel: (202) 6 16-4357



         __._(_?s_,__
Dated: __?       d         {~<e-
                                           5
